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                          EXHIBIT 9A
      Case: 1:22-cv-02259 Document #: 10-49 Filed: 05/03/22 Page 2 of 8 PageID #:547
                      Registration #:   Y40002259775
                   Service Request #:   r-10622550695
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Interfocus Inc
Can Wang
650 Castro Street Ste. l2O-458
Mountain View, CA 94041 United States
                         Case: 1:22-cv-02259 Document #: 10-49 Filed: 05/03/22 Page 3 of 8 PageID #:548
             Certificate of Registration
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                                           This Certificate issued under the seal of the Copyright
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                                           identified below. The information on this certificate has                 Registration Number
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                                           been made a part of the Copyright Office records.
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                                                                                                                     Effective Date of Registration:
                    r870                                                                                             July 08, 2021
                                                                                                                     Registration Decision Date:
                                           United States Register of Copyrights and Director                         July 22,2O21




                  Copyright Registration for a Group of Published Photographs
                  Registration issued pursuant to 37 C.F.R. S 202.4(i)
                             For Photographs Published: May 05, 2021 to June 22,2021

                                  Title

                                         Title of Group:          | - I 06225 5069   5   J021P ATPAT_Publi         shed_7 50
                        Number of Photographs in Group:           750

                              a       Individual Photographs:     t7 309604   ( 1 ), l 7 30960 4 (2), t7 3A9604 (3), t7 309604 (4), 17 309604 (5),
                                                                  17312049 (t),17312049 (2),17312049 (3), 17312049 (4),17312049 (5),
                                                                  17 3 12049 (6), 17 3 127 42 (t), 17 3 r27 42 (2), 17 3 127 42 (3), 17 3 127 42 (4),
                                                                  17312742 (5),17312742 (6),17313321 (t), t73t3321 (2),1731332t (3),
                                                                  1731332r (4),17313321 (s), 17313321 (6),173t4167 (l),17314167 (2),
                                                                  17 3 1 4t67 (3), 17 3 1 4167 (4), 17 3 1 41 67 (s), 17 3 1 41 67 (6), 17 3 1 41 67 (7 ),
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                                                                  t7 3t 4169 (5), t7 3 t 4169 (6), t7 3 t 4390 ( 1 ), t7 3t 4390 ( l 0), l 73 l 4390 ( I l ),
                                                                  17314390 (12), 17314390 (13), r73t4390 (2), 17314390 (3), 17314390 (4),
                                                                  t7 3t 4390 (5), t7 3 14390 (6), 1 73 I 4390 (7), t7 3t 4390 (8), I 73 I 4390 (9),
                                                                  17 3 1 4829 (1), t',l 3 1 4829 (2), 17 3 1 4829 (3), t7 3 1 4829 (4), 17 3 1 4829 (5),
                                                                  17 3 1 4829 (6), 17 3 1 4829 (7 ), 17 3 1 4829 (8), 17 3 1 4829 (9), 17 3 1 6447 (l),
                                                                  t73t&47 (2), t7316447 (3),17316447 (4),17316447 (5), 17318592 (l),
                                                                  t7 3 18592 (2), t] 3 18592 (3), t7 3 I 8592 (4), r7 3 I 8592 (5), I 73 I 8592 (6),
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                              a       Individual Photographs:     t7 32@08(2), t7 32W08(3), t7 32@08(4), 17 32A908(5), 17 320908(6),
                                                                  t732W08(7\ t732@5O (t),1732Ws0 (l0), t73209s0 (2), t732095O (3),
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\6                                                                17320950 (9), t732@89 (l),1732W89 (2), 1732W89 (3),17320989 (4),
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                                                                  t7 321 to9 (3), 17 321 I 08 (4), 11 321 1O8 (5), 17 321 1 67 ( 1 ), 17 321 I 67 (tO),
                                                                  t7 321 t67 (t l), 17 321 1 67 (12), 17 32r 167 (2), 17 321 167 (3), 17 321 167 (4),
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                                                                  17321182(9), 17321248 (r), 17321248 (2), 17321248 (3), 1'1321248 (4),
                                                                  17321248 (5), 1732t258 (t), t7321258 (2), 17321258 (3), 17321258 (4),
                                                                  t7 321258 (5), t7 321258 (6), t7 321268 ( I ), 11 321268 (2), 17 321268 (3),                              €,
                                                                  17321268 (4),17321268 (s),17321331 (l), 17321331 (10), 17321331 (l l),                                    {-:
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                                                                                     17321398      (6),      17321398      (7), 17321402 ( 1 ),      t7 321 402    (2), 17 321 402 (3),
                                                                                     17321402      (4),      17321402      (s), 17 321403 ( l ),     17321403      (2), 17321403 (3),
                                                                                     17321403      (4),      17321 403     (s), 17 321403 (6),       t73214O3      (7), 17321407 (t),
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                             ,,.:                                                    17321881    (2),1732188r (3), 17321881 (4), 17321881 (5), 17321881 (6),
                                                                                     17321881    (7),17321883 (1), 17321883 (2), 17321883 (3), 17321883 (4),
                             Y                                                       17321883    (s), 17322006 (t), 17322006 (2),17322006 (3), 17322006 (4),
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                                     {-                                              t732200,6   (5), t7322gts (t), t7322015 (2), t73220t5 (3), t73220t5 (4),
                                     IP
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                                                                                     17 32205 5 (1 3), 17 322055 ( 1 4), 17 322055 (2), 17 32205 5 (3), 17 322055 (4),
                                                                                     17 32205 5 (5), 17 3220s 5 (6), 17 322055 (7), t'7 32205 5 (8), 17 32205 5 (9),

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                                                                                     17310814 (3), 17310814 (4), 17310814 (5),1731Cp.44 (l), 17310944 (2),
                                                                                     t73tw44 (3), t73t0f,44 (4), t73t0p,44 (5),17311089 (l), 17311089 (2),
                           w                                                         l731 1089 (3), 173n089 (4), I73I 1089 (5), 173I 1089 (6), 173I 1661 (1),
                                                                                     t7 3t t66t (2), t7 3 | I 66 I (3), t7 3 I t66t (4), t7 3 I I 666 ( I ), t7 3 t 1 666 (2),
                                                                                     17311666 (3), 173 1 1666 (4), 17311666 (5), 1 73 1 1666 (6), 1731 1852 (t),
                                                                                     t7 3 I 1852 (2), t7 3 I I 852 (3), 17 3 t 1852 (4), t7 3 I I 852 (5), t7 3 I 1852 (6),
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                                               a           Individual Photographs:   t7   3t 1854 ( 1 ),     I 73   I 1854 (2), 1 73 I I 854 (3), t7 3t I 854 (4), I 73 I I 854 (5),
                                                                                     1731 1854 (6),17312019                (t), t73t2}t9 (2), t73t2}t9 (3),17312019 (4),
                                                                                     t73t20t9 (5), 17312Ot9 (6), 17312019 (7), 17312019 (8),                 I 73 I 3353 ( I ),
                                                                                     17313353 (2), 17313353 (3), t73133s3 (4), 173133s3 (5), 1 73 I 33s3 (6),
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                                                                                     17313353 (7),17313353 (8), 17313353 (9), 17313541 (t),17313541 (2),
                                                                                     17313541 (3),17313541 (4),17313541 (5), 17313541 (6),17313541 (7),
                                                                                     17 3 1 3s 4 1 (8), r7 3 137 29 (t), 1',7 3 137 29 (2)-, 17 3 137 29 (2), 17 3 137 29 (3),
                                                                                     17313729 (4),17313729 (s),17313995 (l), 17313995 (2),173t399s (3),
                                                                                     17313995 (4), t7313995 (s),1731399s (6), 17313995 (7),17314464 (1),
                                                                                     17314464 (2), 17314464 (3),17314464 (4),17314496 (t), t7314496 (2),
                                                                                     17314496 (3), 17314496 (4),17314496 (5), 17315262 (1), 1731s262 (2),
                                                                                     t7 3t 5262 (3), t7 3 t s262 (4), t7 3 t 5262 (5), t7 3 I 5262 (6), 1 73 I 5288 ( I ),
                                                                                     t7 3 1 s288 (2), 17 3 t s288 (3), 17 31 s288 (4), t7 3 | 5288 (5), I 73 I 5288 (6),
                                                                                     1731s288 (7),1731s354 (t),173153s4 (2), t73ts3s4 (3), t73ts3s4 (4),
                                                                                 F   17315354 (5), 173 1535 4 (6), 17315354 (7), 173 1 5503 ( I ), 173 1 5503 (2),
                                                                                     r7315503 (3), 17315503 (4),17315503 (5), 17315503 (6), 17315503 (7),
                                                                                     r731s649 (t),1731s649 (2),1731s649 (3), 1731s649 (4),1731564s (s),
                                                                                     17315649 (6),11315649 (7),17315649 (8), 17315673 (t),17315673 (2),
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                                    17315673 (8),17315673 (9),173t6101 (l), 173t6t}r (2),173t6101 (3),
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                                    173t6t}t (4), t73t6t01 (5), t7316101 (6), 17316503 (t),17316503 (2),
                                    t7 31 6sO3 (3), 1 73 1 6s03 (4), 17 3 16s 46 (t), t] 3 t 65 46 ( 10), I 73 6s 46 (2),
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                                    11 3 1 65 46   (8), 17 3 165 46 (9), 17 3 1 67 26 (1), 17 3 1 67 26 (2), 11 3 t 67 26 (3),
                                    17 3 1 67 26   (4), 1 7 3 1 67 26 (5), 17 3 1 67 29 (t), 17 3 1 67 29 (2), 17 3 1 67 29 (3),
                                    17316729       (4),17316729 (5),17316729 (6),11316729 (1), 17317040 (t),
                    Published:      lune2O2l

   a   Individual Photographs   :   t73t7O4O (2), t73t7O4O         (3),11317040 (4), t73t7O4O (5), 17317076 (t),
                                    17317076 (2),17317076          (3), t1317076 (4),11317076 (5),17317076 (6),
                                    173t7076 (7),17317076          (8),17317198 (1), 17317198 (2),17317198 (3),
                                    17317198 (4),11311198          (5),17317t98 (6), t7317198 (7),17317218 (t),
                                    17317218 (2), 17317218 (3),173172t8 (4), 17317261 (t),173t7261 (2),
                                    17317261 (3),17317261 (4),17317261 (5), 17317261 (6),17317264 (1),
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                                    17317349 (4), fi31786s (r ), r 73 r78 6s (2), 1731786s (3), 17317865 (4),
                                    17317865 (5), t7318213 (t), t7318213 (2),77318213 (3),17318213 (4),
                                    17318213 (5),173t8213 (6),1131843s (1), 1731843s (2),173t843s (3),
                                    17318435 (4), t7318437 (t),17318437 (2),17318437 (3),17318437 (4),
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                                    173 I 8906 (l 1), 173 1 8906 (12), I 73 1 8906 (1 3), 173 1 8906 (2), 173 1 8906 (3),
                                    17318906 (4),17318906 (5), 17318906 (6), 17318906 (7), 17318906 (8),
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                    Published:      June 2021

       Individual Photographs:                                  t] 320158
                                    t7 3201 58 (2), t7 3201 58 (3),               (4), t7 3201 58 (5), l 7320 1 5 8 (6),
                                    17320158 (7), t7320171 (l),11320111           (2), l732ol7t (3),1732017t (4),
                                    17320171 (5), 17320171 (6),17320178           (1), 11320178 (2),17320178 (3),
                                    17320178 (4), 17320178 (5), t7320178          (6), 17320178 (1),11320178 (8),
                                    17320t89 (t),11320189 (2),17320189 (3), t1320189 (4),17320251 (t),
                                    17320251 (tO),17320251 (11), 17320251 (12),17320251 (13), 11320251 (14),
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                                    17320598 (2), t7320598 (3),17320598 (4), 11320598 (5), 17320598 (6),
                                    17320598 (7),17320598 (8), 17320629 (t),17320629 (2),17320629 (3),
                                    17 320629 (4), 17 320629 (5), 17 320629 (6), 17 320629 (7 ), 17 32063 1 (l),
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                                    11320631 (3),1732063t (4),17320631 (5), 11320631 (6),17320631 (t),
                                    17320631 (8), 17320631 (9), 1',7320633 ( 1 ), 17320633 (10), 11320633 (2),
                                    17320633 (3), t7320633 (4),17320633 (5), 17320633 (6),17320633 (7),
                                    17 320633 (8), 71 32M33 (9), 17 3207 29 (1), 17 3207 29 (tO), 17 3207 29 (1 7),
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                                    17320729 (7),17320729 (8),17320729 (9),17320858 (1), 17320858 (2),
                                    l 73208s 8 (3), 17 320858 (4), t7 3208s 8 (5), r7 320858 (6), t7 32087 2 (t),
                                    t7320872 (2),11320872 (3),17320872 (4),17320872 (5), t7320872 (6),
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                                          t732W93 (2), t732W93 (3), t7320993 (4), t7320993 (5),1732@93 (6),
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                                          17321165    (6),17321165 (7),17321165 (8), 17321165 (9),17321257 (t),
                                          17321257    (2),17321257 (3),77321257 (4), t7321251 (5),17321257 (6),
                                          17321257    (7), 17321266 (t), 17321266 (2), t7321266 (3), 17321266 (4),
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           Nation of First Publication:   United States




Author
                   o          Author:     Interfocus Inc
                    Author Created:       photographs
                 Work made for hire:      Yes
                       Domiciled in:      United States

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Certification

                                Name:     Can Wang
                                 Date:    July 06,2027




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                                   created by the same author AND (b) are owned by the same copyright claimant
                                   AND (c) were published in the same calendar year AND 2. The group contains
                                   750 photographs or less AND 3. A sequentially numbered list of photographs
                                   containing the title, file name and month of publication for each photograph
                                   included in the group must be uploaded along with other required application
                                   materials. The list must be submitted in an approved document format such as
                                   .XLS or .PDF. The file name for the numbered list must contain the title of the
                                   group and the Case Number assigned to the application.




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